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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

UNITED STATES OF AMERICA                       CRIMINAL ACTION NO. 17-00090-01

VERSUS                                         JUDGE S. MAURICE HICKS, JR.

BRITTANY SANDERS                               MAGISTRATE JUDGE HANNA


                                        ORDER

        This matter was referred to United States Magistrate Judge Patrick J. Hanna for

report and recommendation. After an independent review of the record, and noting the

defendant’s waiver of any objections, this Court concludes that the Magistrate Judge’s

report and recommendation is correct and adopts the findings and conclusions therein as

its own. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that, in accordance with the terms

of the plea agreement filed in the record of these proceedings, the guilty plea of the

defendant, Brittany Sanders, is ACCEPTED and she is finally adjudged guilty of the

offense charged in Count 1 of the Indictment, consistent with the report and

recommendation.

        THUS DONE AND SIGNED, in Shreveport, Louisiana, this 18th day of September

2017.
